IN THE UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF NORTH CAROLERS me aMs eae

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Greenabero, N. O,

 

UNITED STATES OF AMERICA
Vv. : 1:05CR347-1

STANLEY LEON WADDELL

FACTUAL BASIS IN SUPPORT OF GUILTY PLEA

NOW COMES the United States of America, by and through
Anna Mills Wagoner, United States Attorney for the Middle
District of North Carolina, pursuant to Federal Rule of Criminal
Procedure 11(b) (3), and states the following:

On October 8, 2004, officers with the Chatham County
Sheriff’s Department, the Siler City Police Department and the
Alamance County Sheriff's Department initiated an investigation
into the alleged crack cocaine distribution activity of
Stanley Leon Waddell. To that end, Detective Edgar Barwick of
the Chatham County Sheriff’s Department requested the assistance
of undercover officers from the Siler City Police Department and
the Alamance County Sheriff's Department (hereinafter UCOs). The
UCOs contacted Waddell on his cellular telephone (336-430-0704)
and negotiated the purchase of 3.5 grams (commonly called an “8
ball”) of crack cocaine. Waddell agreed to the sale and directed

the UCOs to meet him at the Cateland Place Apartments in Siler

City.

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The UCOs arrived at the apartment complex just before 9:00
p.m. where they met with Waddell outside building #7, apartment
A. Once the UCOs saw Waddell produce the drugs, they gave the
take down signal and officers on the scene moved in to arrest
Waddell. When the officers moved to make the arrest, Waddell
fled on foot. He was apprehended shortly thereafter, and
searched incident to his arrest. The search resulted in the
seizure of a plastic sandwich bag, which contained four (4)
smaller plastic bags, from Waddell’s left upper pocket. The bags
contained an off-white, rock-like substance. In the same pocket,
the officers seized four (4) additional plastic bags which also
contained an off-white, rock-like substance. The officers also
seized what appeared to be a number of prescriptions pills from
Waddell’s pocket.

All of the substances which were seized were submitted to
the NCSBI Laboratory for analysis. Special Agent S. K. Bayler, a
qualified forensic chemist with that agency, analyzed each
substance and concluded that the plastic bags which were seized
from Waddell contained 44.2 grams of cocaine base and 13.9 grams
of cocaine hydrochloride. The various pills were identified as

13.8 grams of oxycodone. The other pills contained no controlled

substances.

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This the <A day of AJ £ceomber _, 2005.

Respectfully submitted,

ANNA MILLS WAGONER
United States Attorney

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